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 8   Attorneys for Defendants SHASTA         &2857
     BEVERAGES, INC., NATIONAL
 9   BEVPAK, AND NATIONAL
     BEVERAGE CORP.
10
                         UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
12
13
     VERONICA CERDA,                       Case No. 2:20-CV-04651- DMG-AGR
14
                   Plaintiff,              STIPULATED PROTECTIVE
15                                         ORDER
          v.
16                                         DISCOVERY MATTER
     SHASTA BEVERAGES, INC.;
17   NATIONAL BEVPAK; NATIONAL             [Assigned to Hon. Dolly M. Gee,
     BEVERAGE CORP.; and DOES 1            Courtroom 8C]
18   through 50, inclusive,
                                           [Magistrate Judge Hon. Alicia G.
19                                         Rosenberg, Courtroom 550]
                   Defendant.
20                                         State Complaint Filed: April 15, 2020
                                           [Los Angeles Superior Court Case No.
21                                         20STCV1457]
                                           Notice of Removal Filed: May 22, 2020
22
                                           Trial Date: September 7, 2021
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                         STIPULATED PROTECTIVE ORDER
 1         WHEREAS, Plaintiff Veronica Cerda (“Plaintiff” or “Cerda”), on the one
 2   hand, and Defendants Shasta Beverages, Inc., National BevPak, and National
 3   Beverage Corp. (collectively, “Defendants”), on the other hand (collectively, the
 4   “Parties,” singularly a “Party”), may produce or seek discovery of documents,
 5   information, or other materials that may contain or relate to personal, sensitive,
 6   employment, proprietary, trade secret, and/or confidential information of another
 7   party or third party;
 8         The Parties hereby enter into this Stipulated Protective Order as follows:
 9   1.           PURPOSES AND LIMITATIONS
10         Discovery in this action is likely to involve production of confidential,
11   proprietary, or private information for which special protection from public
12   disclosure and from use for any purpose other than prosecuting this litigation may be
13   warranted. Accordingly, the Parties hereby stipulate to and petition the Court to enter
14   the following Stipulated Protective Order. The Parties acknowledge that this Order
15   does not confer blanket protections on all disclosures or responses to discovery and
16   that the protection it affords from public disclosure and use extends only to the
17   limited information or items that are entitled to confidential treatment under the
18   applicable legal principles. The Parties further acknowledge, as set forth in Section
19   12.3, below, that this Stipulated Protective Order does not entitle them to file
20   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
21   that must be followed and the standards that will be applied when a party seeks
22   permission from the court to file material under seal.
23         A.     GOOD CAUSE STATEMENT
24         Disclosure and discovery activity in this action is likely to involve confidential
25   information, including but not limited to, employment information, including of third
26   parties, business strategy and/or research, trade secrets, customer and pricing lists
27   and other valuable research, development, commercial, financial, technical and/or
28   proprietary information for which special protection from public disclosure and from
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                             STIPULATED PROTECTIVE ORDER
 1   use for any purpose other than prosecution of this action is warranted. Such
 2   confidential and proprietary materials and information consist of, among other
 3   things, confidential business or financial information, information regarding
 4   confidential business practices, or other confidential research, development, or
 5   commercial information (including information implicating privacy rights of third
 6   parties), information otherwise generally unavailable to the public, or which may be
 7   privileged or otherwise protected from disclosure under state or federal statutes, court
 8   rules, case decisions, or common law.         Accordingly, to expedite the flow of
 9   information, to facilitate the prompt resolution of disputes over confidentiality of
10   discovery materials, to adequately protect information the parties are entitled to keep
11   confidential, to ensure that the parties are permitted reasonable necessary uses of such
12   material in preparation for and in the conduct of trial, to address their handling at the
13   end of the litigation, and serve the ends of justice, a protective order for such
14   information is justified in this matter. It is the intent of the parties that information
15   will not be designated as confidential for tactical reasons and that nothing be so
16   designated without a good faith belief that it has been maintained in a confidential,
17   non-public manner, and there is good cause why it should not be part of the public
18   record of this case.
19   2.    DEFINITIONS
20         2.1    Action: this pending federal law suit, with a Case Number 2:20-CV-
21   04651- DMG-AGR, which was removed from the Los Angeles Superior Court, Case
22   No. 20STCV1457.
23         2.2    Challenging Party: a Party or Non-Party that challenges the designation
24   of information or items under this Order.
25         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
26   how it is generated, stored or maintained) or tangible things that qualify for protection
27   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
28   Cause Statement.
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                            STIPULATED PROTECTIVE ORDER
 1          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
 2   their support staff).
 3          2.5    Designating Party: a Party or Non-Party that designates information or
 4   items that it produces in disclosures or in responses to discovery as
 5   “CONFIDENTIAL.”
 6          2.6    Disclosure or Discovery Material: all items or information, regardless
 7   of the medium or manner in which it is generated, stored, or maintained (including,
 8   among other things, testimony, transcripts, and tangible things), that are produced or
 9   generated in disclosures or responses to discovery in this matter.
10          2.7    Expert: a person with specialized knowledge or experience in a matter
11   pertinent to the litigation who: (1) has been retained by a Party or its counsel to serve
12   as an expert witness or as a consultant in this Action; (2) is not a past or current
13   employee of a Party; (3) is not a current employee of a party’s competitor; and (4) at
14   the time of retention is not anticipated to become an employee of a Party.
15          2.8    House Counsel: attorneys who are employees of a party to this Action.
16   House Counsel does not include Outside Counsel of Record or any other outside
17   counsel.
18          2.9    Non-Party: any natural person, partnership, corporation, association, or
19   other legal entity not named as a Party to this action.
20          2.10 Outside Counsel of Record: attorneys who are not employees of a party
21   to this Action but are retained to represent or advise a party to this Action and have
22   appeared in this Action on behalf of that party or are affiliated with a law firm which
23   has appeared on behalf of that party, and includes support staff.
24          2.11 Party: any party to this Action, including all of its officers, directors,
25   employees, consultants, retained experts, and Outside Counsel of Record (and their
26   support staffs).
27          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
28   Discovery Material in this Action.
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                             STIPULATED PROTECTIVE ORDER
 1         2.13 Professional Vendors: persons or entities that provide litigation support
 2   services (e.g., photocopying, videotaping, translating, preparing exhibits or
 3   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 4   and their employees and subcontractors.
 5         2.14 Protected Material: any Disclosure or Discovery Material that is
 6   designated as “CONFIDENTIAL.”
 7         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 8   from a Producing Party.
 9   3.    SCOPE
10         The protections conferred by this Stipulation and Order cover not only
11   Protected Material (as defined above), but also (1) any information copied or
12   extracted from Protected Material; (2) all copies, excerpts, summaries, or
13   compilations of Protected Material; and (3) any testimony, conversations, or
14   presentations by Parties or their Counsel that might reveal Protected Material.
15         Any use of Protected Material at trial shall be governed by the orders of the
16   trial judge. This Order does not govern the use of Protected Material at trial.
17   4.    DURATION
18         Even after Final Disposition of this litigation, the confidentiality obligations
19   imposed by this Order shall remain in effect until a Designating Party agrees
20   otherwise in writing or a court order otherwise directs. “Final Disposition” shall be
21   deemed to be the later of: (1) dismissal of all claims and defenses in this Action, with
22   or without prejudice; or (2) final judgment herein after the completion and exhaustion
23   of all appeals, rehearings, remands, trials, or reviews of this Action, including the
24   time limits for filing any motions or applications for extension of time pursuant to
25   applicable law.
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                            STIPULATED PROTECTIVE ORDER
 1   5.    DESIGNATING PROTECTED MATERIAL
 2         5.1    Exercise of Restraint and Care in Designating Material for Protection.
 3   Each Party or Non-Party that designates information or items for protection under
 4   this Order must take care to limit any such designation to specific material that
 5   qualifies under the appropriate standards. The Designating Party must designate for
 6   protection only those parts of material, documents, items, or oral or written
 7   communications that qualify so that other portions of the material, documents, items,
 8   or communications for which protection is not warranted are not swept unjustifiably
 9   within the ambit of this Order.
10         Mass, indiscriminate, or routinized designations are prohibited. Designations
11   that are shown to be clearly unjustified or that have been made for an improper
12   purpose (e.g., to unnecessarily encumber the case development process or to impose
13   unnecessary expenses and burdens on other parties) may expose the Designating
14   Party to sanctions.
15         If it comes to a Designating Party’s attention that information or items that it
16   designated for protection do not qualify for protection, that Designating Party must
17   promptly notify all other Parties that it is withdrawing the inapplicable designation.
18         5.2    Manner and Timing of Designations. Except as otherwise provided in
19   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
20   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
21   under this Order must be clearly so designated before the material is disclosed or
22   produced.
23         Designation in conformity with this Order requires:
24                (a)      for information in documentary form (e.g., paper or electronic
25   documents, but excluding transcripts of depositions or other pretrial or trial
26   proceedings), that the Producing Party affix at a minimum, the legend
27   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
28   contains protected material. If only a portion or portions of the material on a page
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                             STIPULATED PROTECTIVE ORDER
 1   qualifies for protection, the Producing Party also must clearly identify the protected
 2   portion(s) (e.g., by making appropriate markings in the margins).
 3         A Party or Non-Party that makes original documents available for inspection
 4   need not designate them for protection until after the inspecting Party has indicated
 5   which documents it would like copied and produced. During the inspection and
 6   before the designation, all of the material made available for inspection shall be
 7   deemed “CONFIDENTIAL.”             After the inspecting Party has identified the
 8   documents it wants copied and produced, the Producing Party must determine which
 9   documents, or portions thereof, qualify for protection under this Order. Then, before
10   producing the specified documents, the Producing Party must affix the
11   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
12   portion or portions of the material on a page qualifies for protection, the Producing
13   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
14   markings in the margins).
15                (b)    for testimony given in depositions or in other pretrial or trial
16   proceedings, the Designating Party may identify the Disclosure or Discovery
17   Material that constitutes Protected Material on the record before the close of the
18   deposition. When it is impractical to identify separately each portion of testimony
19   that is entitled to protection or it appears that substantial portions of the testimony
20   may qualify for protection, the Designating Party may invoke on the record (before
21   the deposition, hearing, or other proceeding is concluded) a right to designate all or
22   part of the deposition as “CONFIDENTIAL” within thirty (30) days after receipt of
23   the deposition transcript.    During the 30-day period following receipt of the
24   deposition transcript, it shall be treated as Protected Material unless otherwise agreed
25   to by the Parties. The originals and all copies of the deposition transcript must bear
26   the appropriate “CONFIDENTIAL legend.” If only portions of the deposition are
27   designed at “CONFIDENTIAL,” the transcript for such deposition shall include the
28   appropriate “CONFIDENTIAL legend” on the title page and notation that the
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                            STIPULATED PROTECTIVE ORDER
 1   transcript contains Protected Material, and the title page shall be followed by a list of
 2   all pages that have been designated as Protected Material. The Designating Party
 3   shall inform the court reporter of these requirements. Any party may challenge
 4   confidentiality designations to testimony.
 5                 (c)   for information produced in some form other than documentary
 6   and for any other tangible items, that the Producing Party affix in a prominent place
 7   on the exterior of the container or containers in which the information is stored the
 8   legend “CONFIDENTIAL.” If only a portion or portions of the information warrants
 9   protection, the Producing Party, to the extent practicable, shall identify the protected
10   portion(s).
11         5.3     Inadvertent Failures to Designate. The inadvertent failure by any Party
12   to designate qualified information or items as “CONFIDENTIAL” or inadvertent
13   production of the same without a “CONFIDENTIAL legend” does not, standing
14   alone, waive the Designating Party’s right to secure protection under this Order for
15   such material. Upon timely correction of a designation, the Receiving Party must
16   make reasonable efforts to assure that the material is treated in accordance with the
17   provisions of this Order.
18   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
19         6.1     Timing of Challenges. Any Party or Non-Party may challenge a
20   designation of confidentiality at any time that is consistent with the Court’s
21   Scheduling Order.
22         6.2     Meet and Confer. The Challenging Party shall initiate the dispute
23   resolution process under Local Rule 37.1 et seq.
24         6.3     Burden of Persuasions. The burden of persuasion in any such challenge
25   proceeding shall be on the Designating Party. Frivolous challenges, and those made
26   for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens
27   on other parties) may expose the Challenging Party to sanctions.             Unless the
28   Designating Party has waived or withdrawn the confidentiality designation, all
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                            STIPULATED PROTECTIVE ORDER
 1   parties shall continue to afford the material in question the level of protection to
 2   which it is entitled under the Producing Party’s designation until the Court rules on
 3   the challenge.
 4   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 5         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 6   disclosed or produced by another Party or by a Non-Party in connection with this
 7   Action only for prosecuting, defending, or attempting to settle this Action. Such
 8   Protected Material may be disclosed only to the categories of persons and under the
 9   conditions described in this Order.        When the Action has been terminated, a
10   Receiving Party must comply with the provisions of Section 13 below (FINAL
11   DISPOSITION).
12         Protected Material must be stored and maintained by a Receiving Party at a
13   location and in a secure manner that ensures that access is limited to the persons
14   authorized under this Order.
15         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
16   otherwise ordered by the court or permitted in writing by the Designating Party, a
17   Receiving    Party     may     disclose   any    information   or   item   designated
18   “CONFIDENTIAL” only to:
19                (a)     the Receiving Party’s Outside Counsel of Record in this Action,
20   as well as employees of said Outside Counsel of Record to whom it is reasonably
21   necessary to disclose the information for this Action;
22                (b)     the officers, directors, and employees (including House Counsel)
23   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
24                (c)     Experts (as defined in this Order) of the Receiving Party to whom
25   disclosure is reasonably necessary for this Action and who have signed the
26   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
27                (d)     the court and its personnel;
28                (e)     court reporters and their staff;
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                            STIPULATED PROTECTIVE ORDER
 1                  (f)   professional jury or trial consultants, mock jurors, and
 2   Professional Vendors to whom disclosure is reasonably necessary for this Action and
 3   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4                  (g)   the author or recipient of a document containing the information
 5   or a custodian or other person who otherwise possessed or knew the information;
 6                  (h)   during their depositions, witnesses, and attorneys for witnesses,
 7   in the Action to whom disclosure is reasonably necessary provided: (1) the deposing
 8   party requests that the witness sign the form attached as Exhibit A hereto; and (2)
 9   they will not be permitted to keep any confidential information unless they sign the
10   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
11   agreed by the Designating Party or ordered by the court. Pages of transcribed
12   deposition testimony or exhibits to depositions that reveal Protected Material may be
13   separately bound by the court reporter and may not be disclosed to anyone except as
14   permitted under this Stipulated Protective Order; and
15                  (i)   any mediator or settlement officer, and their supporting
16   personnel, mutually agreed upon by any of the parties engaged in settlement
17   discussions.
18   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
19   IN OTHER LITIGATION
20         If a Party is served with a subpoena or a court order issued in other litigation
21   that compels disclosure of any information or items designated in this Action as
22   “CONFIDENTIAL,” that Party must:
23                  (a)   promptly notify in writing the Designating Party. Such
24   notification shall include a copy of the subpoena or court order;
25                  (b)   promptly notify in writing the party who caused the subpoena or
26   order to issue in the other litigation that some or all of the material covered by the
27   subpoena or order is subject to this Protective Order. Such notification shall include
28   a copy of this Stipulated Protective Order; and
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                            STIPULATED PROTECTIVE ORDER
 1                (c)   cooperate with respect to all reasonable procedures sought to be
 2   pursued by the Designating Party whose Protected Material may be affected.
 3         If the Designating Party timely seeks a protective order, the Party served with
 4   the subpoena or court order shall not produce any information designated in this
 5   action as “CONFIDENTIAL” before a determination by the court from which the
 6   subpoena or order issued, unless the Party has obtained the Designating Party’s
 7   permission. The Designating Party shall bear the burden and expense of seeking
 8   protection in that court of its confidential material and nothing in these provisions
 9   should be construed as authorizing or encouraging a Receiving Party in this Action
10   to disobey a lawful directive from another court.
11   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
12   PRODUCED IN THIS LITIGATION
13                (a)   The terms of this Order are applicable to information produced
14   by a Non-Party in this Action and designated as “CONFIDENTIAL.”                  Such
15   information produced by Non-Parties in connection with this litigation is protected
16   by the remedies and relief provided by this Order. Nothing in these provisions should
17   be construed as prohibiting a Non-Party from seeking additional protections.
18                (b)   In the event that a Party is required, by a valid discovery request,
19   to produce a Non-Party’s confidential information in its possession, and the Party is
20   subject to an agreement with the Non-Party not to produce the Non-Party’s
21   confidential information, then the Party shall:
22                      (1)    promptly notify in writing the Requesting Party and the
23   Non-Party that some or all of the information requested is subject to a confidentiality
24   agreement with a Non-Party;
25                      (2)    promptly provide the Non-Party with a copy of the
26   Stipulated Protective Order in this Action, the relevant discovery request(s), and a
27   reasonably specific description of the information requested; and
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                           STIPULATED PROTECTIVE ORDER
 1                       (3)   make the information requested available for inspection by
 2   the Non-Party, if requested.
 3                (c)    If the Non-Party fails to seek a protective order from this court
 4   within 14 days of receiving the notice and accompanying information, the Receiving
 5   Party may produce the Non-Party’s confidential information responsive to the
 6   discovery request. If the Non-Party timely seeks a protective order, the Receiving
 7   Party shall not produce any information in its possession or control that is subject to
 8   the confidentiality agreement with the Non-Party before a determination by the court.
 9   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
10   of seeking protection in this court of its Protected Material.
11   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
12         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
13   Protected Material to any person or in any circumstance not authorized under this
14   Stipulated Protective Order, the Receiving Party must immediately: (a) notify in
15   writing the Designating Party of the unauthorized disclosures; (b) use its best efforts
16   to retrieve all unauthorized copies of the Protected Material; (c) inform the person or
17   persons to whom unauthorized disclosures were made of all the terms of this Order;
18   and (d) request such person or persons to execute the “Acknowledgment and
19   Agreement to Be Bound” that is attached hereto as Exhibit A.
20   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
21   PROTECTED MATERIAL
22         When a Producing Party gives notice to Receiving Parties that certain
23   inadvertently produced material is subject to a claim of privilege or other protection,
24   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
25   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
26   may be established in an e-discovery order that provides for production without prior
27   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
28   parties reach an agreement on the effect of disclosure of a communication or
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                            STIPULATED PROTECTIVE ORDER
 1   information covered by the attorney-client privilege or work product protection, the
 2   parties may incorporate their agreement in the stipulated protective order submitted
 3   to the court.
 4   12.   MISCELLANEOUS
 5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 6   person to seek its modification by the Court in the future.
 7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
 8   Protective Order no Party waives any right it otherwise would have to object to
 9   disclosing or producing any information or item on any ground not addressed in this
10   Stipulated Protective Order. Similarly, no Party waives any right to object on any
11   ground to use in evidence of any of the material covered by this Protective Order.
12         12.3 Filing Protected Material. A Party that seeks to file under seal any
13   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
14   only be filed under seal pursuant to a court order authorizing the sealing of the
15   specific Protected Material at issue. If a Party's request to file Protected Material
16   under seal is denied by the court, then the Receiving Party may file the information
17   in the public record unless otherwise instructed by the court.
18   13.   FINAL DISPOSITION
19         After the Final Disposition of this Action, as defined in paragraph 4, within 60
20   days of a written request by the Designating Party, each Receiving Party must return
21   all Protected Material to the Producing Party or destroy such material. As used in
22   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
23   summaries, and any other format reproducing or capturing any of the Protected
24   Material. Whether the Protected Material is returned or destroyed, the Receiving
25   Party must submit a written certification to the Producing Party (and, if not the same
26   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
27   (by category, where appropriate) all the Protected Material that was returned or
28   destroyed and (2) affirms that the Receiving Party has not retained any copies,
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                            STIPULATED PROTECTIVE ORDER
 1   abstracts, compilations, summaries or any other format reproducing or capturing any
 2   of the Protected Material.
 3         Notwithstanding this provision, Counsel are entitled to retain an archival copy
 4   of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
 5   memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
 6   work product, and consultant and expert work product, even if such materials contain
 7   Protected Material. Any such archival copies that contain or constitute Protected
 8   Material remain subject to this Protective Order as set forth in Section 4
 9   (DURATION).
10   14.   VIOLATIONS OF THIS ORDER
11         Any violation of this Order may be punished by any and all appropriate
12   measures including, without limitation, contempt proceedings and/or monetary
13   sanctions.
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                           STIPULATED PROTECTIVE ORDER
 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 2
 3         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Zachary T. Timm, attest that all
 4   signatories listed, and on whose behalf this filing is submitted, concur in this filing’s
 5   content and have authorized the filing.
 6
 7    Dated: April 9, 2021                By: /s/ Zachary T. Timm
 8                                            Christopher J. Kondon
                                              Saman M. Rejali
 9                                            Zachary T. Timm
10                                            K&L GATES LLP
                                              10100 Santa Monica Boulevard,
11                                            Eighth Floor
12                                            Los Angeles, CA 90067
                                              Attorneys for Defendants Shasta
13                                            Beverages, Inc., National BevPak, and
14                                            National Beverage Corp.

15
16                                        By: /s/ Christopher E. Gavriliuc
                                              Heather McMillan
17                                            Christopher E. Gavriliuc
18                                            STEVENS & McMILLAN
                                              335 Centennial Way
19                                            Tustin, CA 92780
20                                            Attorneys for Plaintiff Veronica Cerda
21
22   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

23
24    Dated: $SULO  

25                                                Hon. Alicia G. Rosenberg
                                                  United States Magistrate Judge
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                             STIPULATED PROTECTIVE ORDER
 1                                          EXHIBIT A
 2
                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
 4   I,                                                     [print or type full name], of

 5                               [print or type full address], declare under penalty of perjury

 6   that I have read in its entirety and understand the Stipulated Protective Order that was

 7   issued by the United States District Court for the Central District of California on

 8   ___ in the case of Veronica Cerda v. Shasta Beverages, Inc., et al., Case No. 2:20-

 9   cv-04651-DMG-AGR. I agree to comply with and to be bound by all the terms of

10   this Stipulated Protective Order and I understand and acknowledge that failure to so

11   comply could expose me to sanctions and punishment in the nature of contempt. I

12   solemnly promise that I will not disclose in any manner any information or item that

13   is subject to this Stipulated Protective Order to any person or entity except in strict

14   compliance with the provisions of this Order.

15           I further agree to submit to the jurisdiction of the United States District Court

16   for the Central District of California for the purpose of enforcing the terms of this

17   Stipulated Protective Order, even if such enforcement proceedings occur after

18   termination of this action. I hereby appoint

19           [print or type full name] of

20           [print or type full address and telephone number] as my California agent for

21   service of process in connection with this action or any proceedings related to

22   enforcement of this Stipulated Protective Order.

23   Date:

24   City and State where sworn and signed:

25   Printed name:
26   Signature:
27
28
                                               16
                                            EXHIBIT A
